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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


PATTY BEALL, MATTHEW MAXWELL,                       §
DAVID GRAVLEY, TALINA MCELHANY,                     §
KELLY HAMPTON, CASEY BROWN,                         §
JASON BONNER, KEVIN TULLOS,                         §
ANTHONY DODD, ILENE MEYERS,                         §
TOM O’HAVER, JOY BIBLES, DON                        §
LOCCHI AND MELISSA PASTOR ,                         §
Individually and on behalf of all others            §
similarly situated;                                 §
                                                    §
         Plaintiffs,                                §       2:08-cv-422 TJW
                                                    §
TYLER TECHNOLOGIES, INC. AND                        §
EDP ENTERPRISES, INC.                               §
     Defendants.                                    §


          PLAINTIFFS’ FIRST AMENDED COLLECTIVE ACTION COMPLAINT

         The Plaintiffs, PATTY BEALL, MATTHEW MAXWELL, DAVID GRAVLEY, TALINA

MCELHANY, KELLY HAMPTON, CASEY BROWN, JASON BONNER, KEVIN TULLOS,

ANTHONY DODD, ILENE MEYERS, TOM O’HAVER, JOY BIBLES, DON LOCCHI AND

MELISSA PASTOR bring this action on behalf of themselves and other former employees and

present employees of Defendants, TYLER TECHNOLOGIES, INC., and/or EDP ENTERPRISES,

INC. (hereinafter, “Plaintiffs and Putative Class Members”) to recover overtime compensation,

liquidated damages, attorney's fees, and costs, under the provisions of Section 216(b) of the Fair

Labor Standards Act of 1938, as amended (29 USCA § 216(b)).




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                                                       I.
                                                   OVERVIEW

         1.1      This is a collective action to recover overtime wages brought under the Fair Labor

Standards Act (“FLSA”).

         1.2      The Putative Class Members are those persons employed by Defendants as “Customer

Support Analysts,” “Systems Support Specialists/Systems Analyst,” “Software Support Specialist,”

“Technical Support Specialist/Trainers,” “Systems Engineers,” “Client Liaisons,” “Trainers,”

“Implementation Specialists,” “Implementation Consultants,” “Technical Sales Product Specialists,”

“Systems Analyst/Quality Assurance Analysts,” or similar job title(s), and who classified by

Defendant as exempt employees who were regularly required by Defendants to work in excess of

40 hours per week.

         1.3      Plaintiffs and the Putative Class Members were not paid overtime for any hours

worked in excess of 40 hours per week in accordance with the FLSA. Accordingly, Plaintiffs,

PATTY BEALL,             MATTHEW MAXWELL, DAVID GRAVLEY, TALINA MCELHANY,

KELLY HAMPTON, CASEY BROWN, JASON BONNER, KEVIN TULLOS, ANTHONY

DODD, ILENE MEYERS, TOM O’HAVER, JOY BIBLES, DON LOCCHI AND MELISSA

PASTOR bring this action on behalf of themselves and Putative Class Members, who were

employed by Defendants as “Customer Support Analysts,” “Systems Support Specialists/Systems

Analysts,” “Software Support Specialist,” “Technical Support Specialists/Trainers,” “Systems

Engineers,”       “Client Liaisons,” “Trainers,” “Implementation Specialists,” “Implementation

Consultants,” “Technical Sales Product Specialists,” “Systems Analyst/Quality Assurance Analysts,”

or maintained positions with similar job duties as those listed above, to recover unpaid overtime


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compensation under Section 216(b) of the FLSA.


                                                     II.
                                                   PARTIES

         2.1      Plaintiff, PATTY BEALL, is an individual who resides in Longview, Gregg County,

Texas. Plaintiff was employed by Defendants in Longview, Texas as a “Customer Support Analyst”

during the relevant three-year period. Plaintiff did not properly receive overtime compensation or

benefits for hours worked in excess of 40 hours per week. BEALL’S consent to this action is filed

herewith as Exhibit “A.”

         2.2      Plaintiff, MATTHEW MAXWELL, is an individual who resides in Longview, Gregg

County, Texas. Plaintiff was employed by Defendant, EDP Enterprises, Inc. in Longview, Texas

as a “Systems Engineer” during the relevant three-year period. Plaintiff did not properly receive

overtime compensation or benefits for hours worked in excess of 40 hours per week. MAXWELL’S

consent to this action is filed herewith as Exhibit “B.”

         2.3      Plaintiff, DAVID GRAVLEY, is an individual who resides in Overton, Texas.

Plaintiff was employed by Defendants in Longview, Texas as a “Systems Engineer” during the

relevant three-year period. Plaintiff did not properly receive overtime compensation or benefits for

hours worked in excess of 40 hours per week. GRAVLEY’S consent to this action is filed herewith

as Exhibit “C .”

         2.4      Plaintiff, TALINA MCELHANY , is an individual who resides in White Oak, Gregg

County, Texas. Plaintiff was employed by Defendants in Longview, Texas as a “Customer Support

Analyst,” “Client Liaison” and “Implementation Specialist” during the relevant three-year period.

Plaintiff did not properly receive overtime compensation or benefits for hours worked in excess of

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40 hours per week. MCELHANY’S consent to this action is filed herewith as Exhibit “D.”

         2.5      Plaintiff, KELLY HAMPTON, is an individual who resides in Kilgore, Gregg

County, Texas. Plaintiff was employed by Defendants in Longview, Texas as a “ Trainer,” “Client

Liaison” and “Implementation Specialist” during the relevant three-year period. Plaintiff did not

properly receive overtime compensation or benefits for hours worked in excess of 40 hours per week.

HAMPTON’S consent to this action is filed herewith as Exhibit “E.”

         2.6      Plaintiff, CASEY BROWN, is an individual who resides in Windsor, Colorado.

Plaintiff was employed by Defendant, Tyler Technologies, Inc. in Lakewood, Colorado as a

“Software Support Specialist” during the relevant three-year period. Plaintiff did not properly

receive overtime compensation or benefits for hours worked in excess of 40 hours per week.

BROWN’S consent to this action is filed herewith as Exhibit “F.”

         2.7      Plaintiff, JASON BONNER, is an individual who resided in Denton, Texas. Plaintiff

was employed by Defendant, Tyler Technologies, Inc. in Plano, Texas as a “Technical Support

Specialist/Trainer” during the relevant three-year period. Plaintiff did not properly receive overtime

compensation or benefits for hours worked in excess of 40 hours per week. BONNER’S consent to

this action is filed herewith as Exhibit “G.”

         2.8      Plaintiff, KEVIN TULLOS, is an individual who resides in McKinney, Texas.

Plaintiff was employed by Defendant, Tyler Technologies in Plano, Texas as a “Systems Support

Specialist/Systems Analyst” during the relevant three-year period. Plaintiff did not properly receive

overtime compensation or benefits for hours worked in excess of 40 hours per week. TULLOS’

consent to this action is filed herewith as Exhibit “H.”

         2.9      Plaintiff, ANTHONY DODD, is an individual who resides in Lubbock, Texas.

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Plaintiff was employed by Defendant, Tyler Technologies, Inc. in Lakewood Colorado as an

“Implementation Specialist” during the relevant three-year period. Plaintiff did not properly receive

overtime compensation or benefits for hours worked in excess of 40 hours per week. DODD’S

consent to this action is filed herewith as Exhibit “I.”

         2.10     Plaintiff, ILENE MEYERS, is an individual who resides in Cary, North Carolina.

Plaintiff was employed by Defendant, Tyler Technologies, Inc. in Raleigh, North Carolina as an

“Implementation Specialist” during the relevant three-year period. Plaintiff did not properly receive

overtime compensation or benefits for hours worked in excess of 40 hours per week. MEYER’S

consent to this action is filed herewith as Exhibit “J.”

         2.11     Plaintiff, TOM O’HAVER, is an individual who resides in Bonney Lake,

Washington. Plaintiff was employed by Defendant, Tyler Technologies, Inc. in Renton, Washington

as a “ Implementation Consultant” during the relevant three-year period. Plaintiff did not properly

receive overtime compensation or benefits for hours worked in excess of 40 hours per week.

O’HAVER’S consent to this action is filed herewith as Exhibit “K.”

         2.12     Plaintiff, JOY BIBLES, is an individual who resides in Bothell, Washington.

Plaintiff was employed by Defendant, Tyler Technologies, Inc. in Renton, Washington as a

“Implementation Consultant” during the relevant three-year period.       Plaintiff did not properly

receive overtime compensation or benefits for hours worked in excess of 40 hours per week.

BIBLE’S consent to this action is filed herewith as Exhibit “L.”

         2.13     Plaintiff, DON LOCCHI, is an individual who resides in San Antonio, Texas.

Plaintiff was employed by Defendant, Tyler Technologies, Inc. in Lubbock, Texas as a “ Technical

Sales Product Specialist” during the relevant three-year period. Plaintiff did not properly receive

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overtime compensation or benefits for hours worked in excess of 40 hours per week. LOCCHI’S

consent to this action is filed herewith as Exhibit “M.”

         2.14     Plaintiff, MELISSA PASTOR, is an individual who resides in Allen, Texas. Plaintiff

was employed by Defendant, Tyler Technologies, Inc. in Irving, Texas as a “Systems Analyst/Quality

Assurance Analyst II” during the relevant three-year period. Plaintiff did not properly receive

overtime compensation or benefits for hours worked in excess of 40 hours per week.

PASTOR’S consent to this action is filed herewith as Exhibit “N.”

         2.15     Additional persons, within the putative class, who wish to opt-in to this collective

action complaint have given their written consents which are attached hereto as Exhibits “O,” “P,”

“Q,” “R,” “S” and “T.”

         2.16     Defendant, TYLER TECHNOLOGIES, INC. is a corporation duly organized and

existing under the laws of the State of Delaware, having its principal office and place of business

located in the City of Dallas, State of Texas, within the territorial jurisdiction of this Court, and, at

all times hereinafter mentioned, Defendant employed Plaintiffs and Putative Class Members in

several states. TYLER TECHNOLOGIES, INC. has been served through its registered agent for

service, and is properly before the court.

         2.17     Defendant, EDP ENTERPRISES, INC. is a corporation duly organized and existing

under the laws of the State of Texas, having its principal office and place of business located in the

City of Longview, State of Texas, within the territorial jurisdiction of this Court and, at all times

hereinafter mentioned, Defendant employed Plaintiffs and Putative Class Members. EDP

ENTERPRISES, INC., has been served through its registered agent for service, and is properly

before the court.

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                                                        III.
                                                   JURISDICTION

         3.1      Jurisdiction of this action is conferred on this Court by Section 216(b) of the Act (29

USCA § 216(b)), and by the provisions of 28 USCA § 1337, relating to "any civil action or

proceeding arising under any Act of Congress regulating commerce."

                                                        IV.
                                                      VENUE

         4.1      Venue is proper in the Eastern District, Marshall Division because Defendant, EDP

Enterprises, Inc., resides in the Eastern District, Marshall Division. Additionally, Defendant, Tyler

Technologies, Inc., is subject to personal jurisdiction in the Eastern District Marshall Division

because its contacts with the State of Texas and the Eastern District are continuous and systematic,

such that the Court has general personal jurisdiction over it. Venue is also appropriate in the Eastern

District, Marshall Division because a substantial part of the events or omission giving rise to the

claim occurred, within the Eastern District of Texas. Four of the named Plaintiffs are residents of

the Eastern District of Texas. Pursuant to 28 U.S.C. § 1391 (West 2000), venue is proper in any

division of the Eastern District of Texas.

                                               V.
                                     COVERAGE UNDER THE FLSA

         5.1      At all times hereinafter mentioned, Defendants have been employers within the

meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

         5.2      At all times hereinafter mentioned, Defendants have been enterprises within the

meaning of Section 3( r) of the FLSA, 29 U.S.C. § 203( r).

         5.3      At all times hereinafter mentioned, Defendants have been enterprises engaged in

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commerce within the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1), in that said

enterprises have and continue to have employees engaged in commerce, or employees handling,

selling, or otherwise working on goods or materials that have been moved in or produced for

commerce by any person, and in that said enterprise has and has had an annual gross volume of sales

made or business done of not less than $500,000.00 (exclusive of excise taxes at the retail level

which are separately stated). During the respective periods of Plaintiffs’ and Putative Class

Members’ employment by Defendants, Plaintiffs and Putative Class Members provided services for

Defendants that involved interstate commerce. In performing the operations herein above described,

Plaintiffs and Putative Class Members were engaged in commerce or in the production of goods for

commerce within the meaning of §§203(b), 203(i), 203(j), 206(a), and 207(a) of the Act. (29 USCA

§§ 203(b), 203(i), 203(j), 206(a), 207(a)).

         5.4      At all times hereinafter mentioned, Plaintiffs and Putative Class Members were

individual employees engaged in commerce or in the production of goods for commerce as required

by 29 U.S.C. §§ 206-207.

         5.5      During the relevant time period, TYLER TECHNOLOGIES, INC. through its

employees, created, ratified and implemented its unlawful payment scheme. Thus, TYLER

TECHNOLOGIES, INC. has acted directly or indirectly as an employer with respect to the named

Plaintiffs and Putative Class Members within the meaning of the FLSA.

         5.6      During the relevant time period, EDP ENTERPRISES, INC through is employees,

created, ratified and implemented its unlawful payment scheme. Thus, EDP ENTERPRISES, INC.,

has acted directly or indirectly as an employer with respect to the named Plaintiffs and Putative Class

Members within the meaning of the FLSA.

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         5.7      The class of similarly situated employees, i.e. putative class members sought to be

certified under 29 U.S.C. § 216(b) is defined as “all current and former employees of Defendants,

Tyler Technologies, Inc.,            EDP Enterprises, Inc. and/or predecessor companies of Tyler

Technologies, Inc. that held the positions of “Customer Support Analyst,” “Systems Support

Specialist/Systems Analyst,” “Software Support Specialist,” “Technical Support Specialist/Trainer,”

“Systems Engineer,” “Trainer,” “Client Liaison,” “Implementation Specialist,” “Implementation

Consultant,” “Technical Sales Product Specialist,”and             “Systems Analyst/Quality Assurance

Analyst,” or similar job positions that included similar job duties as those listed above, from

October 31, 2005, through the present. The precise size and identity of the Putative Class should be

ascertainable from the business records, tax records, and/or employee or personnel records of

Defendants, and their related and affiliated entities.

                                                    VI.
                                                   FACTS

         6.1      Defendants, TYLER TECHNOLOGIES, INC., and EDP ENTERPRISES, INC are

in the business of creating, installing and providing customer training and support for specialized

software programs for use by public entities including schools, appraisal districts, courts, pension

plans and public safety entities. In September 2007, Defendant TYLER TECHNOLOGIES, INC.

merged with EDP ENTERPRISES, INC. and thereafter continued its operations as TYLER

TECHNOLOGIES, INC.                During all times relevant to this action, Plaintiffs and Putative Class

Members were employed by Defendants as exempt salaried employees and were not provided any

additional compensation for any hours they worked over 40 hours per week, with the exception of

travel bonuses for each day an employee was required to stay overnight during a job.


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         6.2      During all times relevant to this action Plaintiffs and Putative Class Members were

classified as “Customer Support Analysts,” “Systems Support Specialists/Systems Analyst,”

“Software Support Specialists,” “Technical Support Specialist/Trainer,” “Client Liaisons,” “Systems

Engineers,” “Trainers,” “Implementation Specialists,” “Implementation Consultants,” “Technical

Sales Product Specialists,” and “Systems Analyst/Quality Assurance Analysts,” or similar job title(s)

and were treated as exempt employees notwithstanding the fact that their job duties did not warrant

such treatment.

         6.3      “Customer Support Analysts” primary job duties consist of assisting Defendants’

customers via telephone with problems they encountered with the use and operation of Defendants’

computer software programs.

         6.4      “Systems Support Specialists/Systems Analyst” primary job duties consist of assisting

Defendant. Tyler Technologies, Inc.’s customers via telephone or computer with problems they

encountered with the use and operation of Tyler Technologies, Inc.’s computer software programs.

         6.5      “Software Support Specialists” primary job duties consist of assisting Defendant,

Tyler Technologies, Inc.’s customers via telephone or computer with problems they encountered

with the use and operation of Tyler Technologies, Inc’s computer software programs.

         6.6        “Technical Support Specialist/Trainer” primary job duties consist of assisting

Defendant, Tyler Technologies, Inc.’s customers via telephone or computer with problems they

encountered with the use and operation of Tyler Technologies, Inc’s computer software programs

as well as training customers on the software.

         6.7      “Systems Engineers” primary job duties involved the installation and maintenance

of computer hardware and software for Defendants and their customers.

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         6.8      “Client Liaisons”1 primary job duties consisted of interacting with EDP Enterprises,

Inc’s customers, via telephone, during the conversion of the customer’s old software system to EDP

Enterprises, Inc.’s software system, including the entry of the client’s data after it is converted to the

new software, reviewing the data for errors, assisting the client with correcting errors, and providing

customer support several months after the conversion.

         6.9      “Trainer,” “Implementation Consultants” and/or “Implementation Specialists” are

job titles that involve the same or similar job duties. “Trainers,” “Implementation Consultants”

and/or “Implementation Specialists” provide on-site assistance to Defendants’ customers during the

implementation of Defendants’ software. These positions often entail extensive travel to customer

sites where the “Trainers,” “Implementation Specialists” and/or “Implementation Consultants assist

customers during the conversion of their existing software to Defendants’ software. 2 This process

involves the conversion of the customer’s data from their existing software to Defendants’ software,

reviewing the converted data for errors, assisting the customer with correcting data errors. The

“Trainers,” “Implementation Consultants” and/or “Implementation Specialists” also set up software

modules and train the customer’s employees on the use and operation of Defendants’ software.

         6.10     “Technical Sales Product Specialists” primary job duties consist of providing pre and

post sale technical product assistance to Tyler Technologies, Inc.’s sales managers, consisting of on-

site presentations to explain the technical aspects of the Tyler Technologies, Inc’s software to


         1
          The job title of “Client Liaison” was exclusive to EDP Enterprises, Inc. Although the position continued
after Tyler Technologies purchased EDP Enterprises, Inc. the name of the position changed to “Implementation
Specialist.”

         2
         “ Tyler Technologies, Inc. sells a wide variety of software products for use by public entities. Although the
software packages are designed for different applications, the job duties of the Implementation
Specialists/Consultants are essentially the same.
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potential customers and post sale technical support during the conversion and implementation of the

software.3

         6.11     “Systems Analyst/Quality Assurance Analysts” primary job duties involved preparing

test scripts to test Defendant’s software to assure that it operates in “real life” scenarios as it was

intended to operate.

         6.12     During the relevant time period, Plaintiffs and Putative Class Members were

classified and treated as exempt employees by Defendants, notwithstanding the fact that they did

not qualify for any recognized FLSA exemption.

         6.13     During the period from October 31, 2005, to the present time, Defendants regularly

required Plaintiffs and Putative Class Members to work longer than 40 hours per week, and failed

and refused to compensate them for such work in excess of 40 hours at rates not less than one and

one-half times the regular rates at which they were employed, contrary to the provisions of Section

207(a) of the Act (29 USCA § 207(a)). Accordingly, Plaintiffs contend that Defendants owe them,

and the Putative Class Members, overtime compensation under 29 U.S.C. § 207(a)(1).

                                                     VII.
                                              FLSA VIOLATIONS

         7.1      During the relevant time period, Defendants have violated, and are violating, the

provisions of Sections 206 and/or 207 of the FLSA, 29 U.S.C. §§ 206, 207, and 215(a)(2), by

employing employees in an enterprise engaged in commerce within the meaning of the FLSA for

workweeks longer than 40 hours without compensating such employees for their employment in

excess of 40 hours per week at rates no less than one and one-half the regular rates for which they


         3
        The position of “Technical Sales Product Specialist” is only applicable to Tyler Technologies, Inc.’s
employees.
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were employed.

         7.2      The positions of “Customer Support Analyst,” “Systems Support Specialists/Systems

Analyst,” “Software Support Specialist,” “Technical Support Specialist/Trainer,” “Client Liaison,”

“Systems Engineer,” “Trainer” “Implementation Specialists,” “Implementation Consultants,”

“Technical Sales Product Specialists,” and “Systems Analyst/Quality Assurance Analysts” are not

exempt positions under the FLSA.

         7.3      Moreover, Defendants knowingly, willfully or in reckless disregard carried out their

illegal pattern or practice of failing to pay Plaintiffs and the Putative Class Members overtime

compensation. The decision by Defendants not to pay overtime compensation to its “Customer

Support Analysts,” “Systems Support Specialists/Systems Analysts,” “Software Support Specialists,”

“Technical Support Specialist/Trainer,” “Client Liaisons,” “Systems Engineers,” “Trainers,”

“Implementation Specialists and/or Implementation Consultants,” “Technical Sales Product

Specialists,” and “Systems Analyst/Quality Assurance Analysts” and employees that performed

similar jobs was neither reasonable nor in good faith. Moreover the decision to classify Plaintiffs

job positions as exempt was made centrally and applied to all such job positions throughout

Defendants’ companies, irrespective of the location of the position, the type of software being

supported and/or the type of customer being serviced. Accordingly, Plaintiffs and Putative Class

Members are entitled to overtime wages under the FLSA in an amount equal to one and one-half

times their rate of pay, plus liquidated damages, attorneys’s fees and costs.

                                            VIII.
                               COLLECTIVE ACTION ALLEGATIONS

         8.1      Other employees have been victimized by this pattern, practice and policy which is


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in willful violation of the FLSA. Many of these employees have worked with Plaintiffs and have

reported that they were paid in the same manner and were not properly compensated for all hours

worked as required by the FLSA. Plaintiff, PATTY BEALL, complained to management on

numerous occasions that the failure to pay overtime was a violation of the law. Plaintiff BEALL

was simply told that her job position was exempt. From the Plaintiffs personal knowledge and their

discussions with management and similarly situated employees, Plaintiffs are aware that the illegal

practice or policy of Defendants has been imposed on the Putative Class Members.

         8.2      The Putative Class Members are “all current and former employees of Defendants,

and Tyler Technologies, Inc. and/or EDP Enterprises, Inc. or predecessor companies of Tyler

Technologies, Inc., that held the positions of “Customer Support Analyst,” “Systems Support

Specialists/Systems         Analyst,”      “Software   Support   Specialist,”    “Technical    Support

Specialist/Trainer,” “Systems Engineer,” “Trainer,” “Client Liaison,” “Implementation Specialist,”

“Implementation Consultant,” “Technical Sales Product Specialist,”                 and/or     “Systems

Analyst/Quality Assurance Analyst,” or similar positions, from October 31, 2005, through the

present and who classified as exempt employees and who worked in excess of 40 hours per week.”

         8.3      The employees who were victimized by Defendants’ unlawful compensation practices

are also similarly situated to Plaintiffs in terms of job duties. The job positions of “Customer

Support Analyst,” “Systems Support Specialists/Systems Analyst,” “Software Support Specialist,”

“Technical Support Specialist/Trainer,” “Systems Engineer,”               “Client Liaison,” “Trainer,”

“Implementation Specialist,” “Implementation Consultant,” “Technical Sales Product Specialist,”

and/or “Systems Analyst/Quality Assurance Analyst” require the same general job functions and

duties throughout the Defendants’ operations. Although Defendants may have given different job

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titles to employees that work on different software programs, the essential job functions performed

by Plaintiffs as “Customer Support Analyst,” “Systems Support Specialists/Systems Analyst,”

“Software Support Specialist,” “Technical Support Specialist/Trainer,” “Systems Engineer,” “Client

Liaison,” “Trainer,” “Implementation Specialist,” “Implementation Consultant,” “Technical Sales

Product Specialist,” and/or “Systems Analyst/Quality Assurance Analyst” are universally applicable

to all Defendants’ employees that perform the same or similar jobs.

         8.4      Defendants’ failure to pay wages and overtime compensation at the rates required by

the FLSA result from generally applicable policies and practices and do not depend on the personal

circumstances of the Putative Class Members. Thus, Plaintiffs’ experiences are typical of the

experiences of the Putative Class Members.

         8.5      The specific job titles or precise job requirements of the various Putative Class

Members do not prevent collective treatment. All of the Putative Class Members, regardless of their

precise job requirements or rates of pay, are entitled to be properly compensated for all hours worked

in excess of 40 hours per week. Although the issue of damages may be individual in character, there

is no detraction from the common nucleus of liability facts. Accordingly, the class of similarly

situated Plaintiffs is properly defined as:

         ALL CURRENT AND FORMER CUSTOMER SUPPORT ANALYSTS,
         SYSTEMS SUPPORT SPECIALISTS/SYSTEMS ANALYST, SOFTWARE
         SUPPORT SPECIALISTS, TECHNICAL SUPPORT SPECIALIST/TRAINER,
         SYSTEMS ENGINEERS, CLIENT LIAISONS, TRAINERS,
         IMPLEMENTATION SPECIALISTS , IMPLEMENTATION
         CONSULTANTS, TECHNICAL SALES PRODUCT SPECIALISTS, AND
         SYSTEMS ANALYST/QUALITY ASSURANCE ANALYSTS OR SIMILAR
         JOB POSITIONS, WHO WERE CLASSIFIED AS EXEMPT WHILE
         EMPLOYED BY TYLER TECHNOLOGIES INC. , EDP ENTERPRISES,
         INC. AND/OR A PREDECESSOR COMPANY OF TYLER
         TECHNOLOGIES, INC. DURING THE TIME PERIOD FROM OCTOBER

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          31, 2005, TO PRESENT AND WERE NOT PAID OVERTIME
          COMPENSATION FOR TIME WORKED IN EXCESS OF 40 HOURS PER
          WEEK.

                                                        IX.
                                                    ACCOUNTING

          9.1      The Plaintiffs and Putative Class Members are owed wages which equal the sum of

 overtime compensation not paid by Defendants to the Plaintiffs and Putative Class Members.

          9.2      The Plaintiffs and Putative Class Members do not know the precise amount of

 compensation due to the Plaintiffs and Putative Class Members. The Plaintiffs and Putative Class

 members were required to submit the hours they worked to Defendants thus, Defendants possess

 records from which the amount of compensation due and owing to each of the members of the

 Plaintiff Class herein can be determined.

          9.3      The amount of interest and penalties owed to Plaintiffs and Putative Class Members

 is based on the amount of compensation owed to members of the Class by Defendants. This amount

 can only be determined by an accounting of books and records in the possession of Defendants.

                                                      X.
                                                RELIEF SOUGHT

          10.1     WHEREFORE, Plaintiffs and Putative Class Members pray for judgment against

 Defendants as follows:

                   a.        For an Order recognizing this proceeding as a collective action pursuant to
                             Section 216(b) of the FLSA and requiring Defendants to provide the names,
                             addresses, and telephone numbers of all putative collective action members;

                   b.        For an Order Approving the form and content of a Notice to be sent to all
                             putative collective action members advising them of the pendency of this
                             litigation and of their rights with respect thereto;

                   c.        For judgment finding Defendants liable for unpaid overtime pay at a rate not

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                             less than one and one-half times their regular rate of pay;

                   d.        For an award of liquidated damages equal in amount of the unpaid
                             compensation found due to Plaintiffs and Putative Class Members;

                   e.        For an Order awarding Plaintiffs and Putative Class Members the costs of this
                             action;

                   f.        For an Order awarding Plaintiffs and Putative Class Members their attorney’s
                             fees;

                   g.        For an Order awarding Plaintiffs and Putative Class Members pre-judgment
                             and post-judgment interest at the highest rates allowed by law;

                   h.        For an Order granting Plaintiffs and Putative Class Members an accounting;
                             and

                   i.        For an Order granting such other relief as may be necessary and appropriate.

                                                            Respectfully submitted,

                                                            SLOAN, BAGLEY, HATCHER & PERRY
                                                            LAW FIRM

                                                             /s/ Laureen F. Bagley
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                                         CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing instrument has been served on
 all counsel of record via electronic mail on this 6TH day of April, 2009, as follows:

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          Joel S. Allen
          Sharon Fast Fulgham
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                                                               s/Laureen F. Bagley
                                                              LAUREEN F. BAGLEY




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